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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS


  OUTSOURCING FACILITIES ASSOCIATION; NORTH
  AMERICAN CUSTOM LABORATORIES, LLC D/B/A
      FARMAKEIO CUSTOM COMPOUNDING,
Plaintiff
v.                                                                  4:24-cv-00953-P
           UNITED STATES FOOD AND DRUG                             Civil Action No.
   ADMINISTRATION; and DR. ROBERT M. CALIFF,
in his official capacity as Commissioner of Food and Drugs,
Defendant

         CERTIFICATE OF INTERESTED PERSONS',6&/2685(67$7(0(17
                                   (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

Outsourcing Facilities Association; North American Custom Laboratories, LLC d/b/a
FarmaKeio Custom Compounding.


provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

 None.




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

 Outsourcing Facilities Association; North American Custom Laboratories LLC Partners;
 Southwest Home Solutions LLC; FarmaKeio AR LLC; FarmaKeio Outsourcing LLC; Evexias
 Holding Co LLC; Sutherland Solutions LLC; JL Graves Holdings LLC; JWRD Holdings LLC;
 Harris Portal Solutions LLC; Nilus LLC; Daniel DeNeui; Michael Cole; Justin Graves; Cody
 Boatman; Robert Harris; Paul Jowell
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                                                              Date:                 October 7, 2024
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil !Other
Documents !Certificate of Interested Persons'LVFORVXUH6WDWHPHQW
